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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
QUINTIN KEENE,
                           Plaintiff,                               SCHEDULING ORDER
            v.                                                      17-cv-6708-MAT-JWF

THE CITY OF ROCHESTER, et al.,
                    Defendants.
     Pursuant to the order of                       the    Hon.     Michael   A.    Telesca
referring    the        above     case    to       the     undersigned    for      pretrial
procedures and the entry of a scheduling order as provided in
Fed. R. Civ. P. Rule 16(b) and Local Rule 16, and a conference
having been held on May 23, 2018 with counsel relative to the
matter, it is ORDERED that:
     1.          This    case     has    been      referred       automatically     to   the
Court’s    Alternative          Dispute    Resolution        (“ADR”)     pilot     program.
The ADR Plan and related forms and information are available at
www.nywd.uscourts.gov and the Court Clerk’s Office.
     (a)    No later than June 20, 2018, the parties shall confer
            and     select         a     mediator,         confirm      the     mediator’s
            availability, ensure that the mediator does not have a
            conflict with any of the parties in the case, identify
            a date and time for the initial mediation session, and
            file a stipulation confirming their selection on the
            form provided by the Court.                    If the parties fail to so
            stipulate, the Court shall appoint an ADR neutral.
     (b)    Any motions to opt out of the ADR process shall be
            filed by June 6, 2018.
     (c)    The initial mediation session shall be held no later
            than August 15, 2018.
     (d)    The referral to mediation shall terminate on October
            15,    2018.          In     the       event    that    settlement      is   not
            reached,       the     case     will         progress    toward     trial,   as
            scheduled below.

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     (e)   The referral of this case to mediation will not delay
           or    defer     other    dates      contained    in    this   Scheduling
           Order and has no effect on the progress of the case
           toward trial.
     2.    All       mandatory    disclosure      requirements      found    in   Rule
26(a)(1) of the Federal Rules of Civil Procedure, as well as any
objections to the mandatory disclosure requirements, shall be
completed on or before June 11, 2018.
     3.    All motions to join other parties and to amend the
pleadings shall be filed on or before December 1, 2018.                            Any
third party action shall be commenced on or before December 1,
2018.
     4.    All        factual     discovery       in     this    case,      including
depositions, shall be completed on or before February 1, 2019.
All motions to compel discovery shall be filed at least thirty
(30) days prior to the close of factual discovery.
     5.    Plaintiffs shall identify any expert witnesses through
interrogatories and provide reports pursuant to Fed. R. Civ. P.
26 by November 1, 2018.             Defendants shall identify any expert
witnesses through interrogatories and provide reports pursuant
to Fed. R. Civ. P. 26 by December 1, 2018.                       All parties shall
complete       all     discovery        relating       to   experts,        including
depositions, by February 1, 2019.
     6.    Dispositive motions, if any, shall be filed no later
than April 2, 2019. Unless a consent to proceed before this
Court   will    be    filed,     such   motions    shall    be    made   returnable
before Judge Larimer.
     6.    A trial date status conference pursuant to Fed. R.
Civ. P. Rule 16(e) and Local Rule 16 will be held, if necessary,
at a date and time to be determined by the trial judge after
determination of dispositive motions.                  If no dispositive motions


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are filed, counsel shall immediately contact the trial judge so
that a trial date status conference can be scheduled.
     At least seven (7) days prior to the trial date status
conference, the parties shall file a joint case status report
setting forth the information described below.                            If the parties
disagree as to the information to be provided, the report must
set forth their different responses.                       The joint status report
shall contain:
     (1)       Nature of the Case: Set forth a brief description of
               the action, identifying the parties, all counsel of
               record, the relief requested, any affirmative defenses
               and   any      relationship        the    case     may    have       to       other
               pending actions.
     (2)       Motion Practice: Are any motions, dispositive or non-
               dispositive,      pending?          If    so,    briefly       describe         the
               motion.        Explain    if       additional      motion       practice         is
               necessary before the matter is ready to be tried.
     (3)       Settlement:       Describe          the     status        of        settlement
               negotiations.            If    the       parties        believe          a     court
               supervised settlement/mediation conference would be of
               assistance in resolving the case or narrowing disputed
               issues, please state.
     (4)       Trial: State whether the case is ready for trial.                                If
               not, explain why.             Set forth an estimate of how long
               the trial will take and whether the case is jury or
               non-jury.
     No    extension       of   the   above       cutoff       dates    will       be       granted
except upon written application, made prior to the cutoff date,
showing good cause for the extension. Application for extensions
should    be    made     to    the   Magistrate         Judge.    Joint       or    unopposed
requests to extend the deadlines set forth in this order need
not be made by formal motion, but rather may be sought in a

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letter to the court. Letter requests must detail good cause for
the extension and propose new deadlines.
SO ORDERED.


                                  _/s/ Jonathan W. Feldman      _
                                      JONATHAN W. FELDMAN
                                 United States Magistrate Judge


Dated: May 23, 2018
       Rochester, New York




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